         Case 1:16-cv-01534-JEB Document 400 Filed 02/14/19 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                                      Case No. 1:16-cv-1534-JEB
                                                      (and Consolidated Case Nos. 16-cv-1796
                       Plaintiff,
                                                      and 17-cv-267)
       and

CHEYENNE RIVER SIOUX TRIBE,

                       Plaintiff-Intervenor,          MOTION TO MODIFY SCHEDULE
       v.

U.S. ARMY CORPS OF ENGINEERS,

                       Defendant-Cross
                       Defendant,

       and

DAKOTA ACCESS, LLC,

                       Defendant-Intervenor-
                       Cross Claimant.



       Plaintiffs Standing Rock Sioux Tribe respectfully moves for a modification to the

schedule governing briefing regarding the recently filed administrative record in this

case. Pursuant to the Court’s previous order, the index to the Administrative Record was lodged

with this Court on January 31, and copies of the record delivered to the parties on compact

disc. However, the disc sent to the Tribe was corrupted and unreadable. Counsel for

Department of Justice worked with the Tribe to provide the record via alternative means, but that

process has only just been completed. Weather in Seattle (where the Tribe’s counsel is located)

has resulted in office and court closures, further delaying the process.




MOTION TO MODIFY SCHEDULE                                                   Earthjustice
                                                                            705 Second Ave., Suite 203
(No. 1:16-cv-1534-JEB) - 1                                                      1
                                                                            Seattle, WA 98104
                                                                            (206) 343-7340
         Case 1:16-cv-01534-JEB Document 400 Filed 02/14/19 Page 2 of 3



       Accordingly, The Tribe has proposed a modified schedule that extends the existing

deadlines as follows:

       • Challenges to the completeness of the administrative record shall be filed by February

          27th, 2019.

       • Oppositions to such motions will be due March 11, 2019

       • Replies will be due March 18, 2019.

       Undersigned counsel has conferred with the other parties in this litigation and no party

opposes this modification.

       Respectfully submitted this 14th day of February, 2019.


                                             /s/ Jan E. Hasselman
                                             Jan E. Hasselman, WSBA # 29107
                                             (Admitted Pro Hac Vice)
                                             Stephanie Tsosie, WSBA # 49840
                                             (Admitted Pro Hac Vice)
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                                             Attorneys for Plaintiff




MOTION TO MODIFY SCHEDULE                                                  Earthjustice
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(No. 1:16-cv-1534-JEB) - 2                                                     2
                                                                           Seattle, WA 98104
                                                                           (206) 343-7340
         Case 1:16-cv-01534-JEB Document 400 Filed 02/14/19 Page 3 of 3



                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2019, I electronically filed the foregoing MOTION

TO MODIFY SCHEDULE with the Clerk of the Court using the CM/ECF system, which will

send notification of this filing to the attorneys of record and all registered participants.



                                                /s/ Jan E. Hasselman
                                                Jan E. Hasselman




MOTION TO MODIFY SCHEDULE                                                       Earthjustice
                                                                                705 Second Ave., Suite 203
(No. 1:16-cv-1534-JEB) - 3                                                          3
                                                                                Seattle, WA 98104
                                                                                (206) 343-7340
         Case 1:16-cv-01534-JEB Document 400-1 Filed 02/14/19 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                                    Case No. 1:16-cv-1534-JEB
                                                    (and Consolidated Case Nos. 16-cv-1796
                     Plaintiff,
                                                    and 17-cv-267)
         and

CHEYENNE RIVER SIOUX TRIBE,

                     Plaintiff-Intervenor,          PROPOSED ORDER GRANTING
         v.                                         MOTION TO MODIFY SCHEDULE
U.S. ARMY CORPS OF ENGINEERS,

                     Defendant-Cross
                     Defendant,

         and

DAKOTA ACCESS, LLC,

                     Defendant-Intervenor-
                     Cross Claimant.



     Plaintiff Standing Rock Sioux Tribe has filed a Motion to Modify Schedule. Having

reviewed the party’s pleading, it is hereby ORDERED that, the motion is GRANTED.




Dated:
                                             JAMES E. BOASBERG
                                             United States District Judge




PROPOSED ORDER GRANTING
MOTION TO MODIFY SCHEDULE                                                   Earthjustice
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                                                                            Seattle, WA 98104
                                                                            (206) 343-7340
        Case 1:16-cv-01534-JEB Document 400-1 Filed 02/14/19 Page 2 of 2



Presented by:


/s/ Jan E. Hasselman
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Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

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PROPOSED ORDER GRANTING MOTION TO MODIFY SCHEDULE with the Clerk of the

Court using the CM/ECF system, which will send notification of this filing to the attorneys of

record and all registered participants.



                                             /s/ Jan E. Hasselman
                                             Jan E. Hasselman




PROPOSED ORDER GRANTING
MOTION TO MODIFY SCHEDULE                                                   Earthjustice
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(No. 1:16-cv-1534-JEB) - 2                                                      2
                                                                            Seattle, WA 98104
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